Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 1 of 8

U.S. Department of Justice

United States Attorney

District of Maryland
|
|
Adeyemi O. Adenrele Suite 400 DIRECT: 410-209-4819
Assistant United States Attorney 36S. Charles Street MAIN: 410-209-4800
Adeyemi.Adenrele@usdoj.gov Baltimore, MD 21201-3119 FAX: 410-962-2310
April 11, 2023
Elizabeth Lopez, Esq. FILED ENTER
Assistant Federal Public Defender et ) ED
100 South Charles Street . ee LOGGED _~\” RECEIVED
Tower II, Suite 900 | e
Baltimore, MD 21201 AUG 17 2023
cure SHE cay
Re: United States v. Gabriel Ruiz 1 U.S. t RT
Criminal No. LKG-22-437 Seo TAN ee

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
Agreement”) that has been offered to your client, Gabriel Ruiz (hereinafter “Defendant”), by the
United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by April 17, 2023, it will be deemed withdrawn. The terms of the Agreement
are as follows:

Offenses of Conviction

l. The Defendant agrees to plead guilty to Count Two of the Indictment, which
charges the Defendant with Importation of Cocaine, in violation of 21 U.S.C. § 952(a). The
Defendant admits that the Defendant is, in fact, guilty of the offense and will so advise the Court.

Elements of the Offense

2. The elements of the offenses to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

Count Two: That on or about June 20, 2022, in the District of Maryland, the Defendant

a. Knowingly and willfully imported into the United States 5 kilograms or more of a
mixture or substance containing a detectable amount of cocaine, a Schedule II
controlled substance; and

b. Willfully associated himself with the importation venture.
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 2 of 8

Penalties

3. The maximum penalties provided by statute for the offenses to which the Defendant is
pleading guilty are as follows:

Minimum | Maximum Supervised Maximum Special
Count Statute . : .
Prison Prison Release Fine Assessment
21 U.S.C. . Max — Life
2 9952 10 years Life Min — 5 years $10,000,000 $100
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons

has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

C. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 3 of 8

Waiver of Rights

. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below: |

a. If the Defendant had pled not guilty and persisted in that plea, the
Defendant would have had the right to a speedy jury trial with the close assistance of
competent counsel. That trial could be conducted by a judge, without a jury, if the
Defendant, this Office, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors
peremptorily. All twelve jurors would have to agree unanimously before the Defendant
could be found guilty of any count. The jury would be instructed that the Defendant was
presumed to be innocent, and that presumption could be overcome only by proof beyond a
reasonable doubt.

c. Ifthe Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the
right to confront and cross-examine the Government’s witnesses. The Defendant would
not have to present any defense witnesses or evidence whatsoever. If the Defendant wanted
to call witnesses in defense, however, the Defendant would have the subpoena power of
the Court to compel the witnesses to attend. |

d. The Defendant would have the right to testify in the Defendant’s own defense
if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw
any adverse inference from the Defendant’s decision not to testify.

e. Ifthe Defendant were found guilty after a trial, the Defendant would have the
right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility
of evidence to see if any errors were committed which would require a new trial or
dismissal of the charges. By pleading guilty, the Defendant knowingly gives up the right
to appeal the verdict and the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except
the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the
Defendant may have to answer the Court’s questions both about the rights being given up
and about the facts of the case. Any statements that the Defendant makes during such a
hearing would not be admissible against the Defendant during a trial except in a criminal
proceeding for perjury or false statement.

g. Ifthe Court accepts the Defendant’s plea of guilty, the Defendant will be giving
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 4 of 8

up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will
find the Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including
possible denaturalization. The Defendant recognizes that if the Defendant is not a citizen
of the United States, or is a naturalized citizen, pleading guilty may have consequences
with respect to the Defendant’s immigration status. Under federal law, conviction for a
broad range of crimes can lead to adverse immigration consequences, including automatic
removal from the United States. Removal and other immigration consequences are the
subject of a separate proceeding, however, and the Defendant understands that no one,
including the Defendant’s attorney or the Court, can predict with certainty the effect of a
conviction on immigration status. The Defendant is not relying on any promise or belief
about the immigration consequences of pleading guilty. The Defendant nevertheless
affirms that the Defendant wants to plead guilty regardless of any potential immigration
consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range
for this case (henceforth the “advisory guidelines range’’) pursuant to the Sentencing Reform Act
of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth in
Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant agree that the applicable base offense level is 30
pursuant to United States Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(c)(5) to account for a
controlled substance quantity of at least 5 kilograms but less than 15 kilograms of cocaine.

b. The parties agree that if the Defendant meets criteria under U.S.S.G. § 5C1.2 (the
“safety valve’), the Defendant’s offense level should decreased by two levels pursuant to U.S.S.G.
§ 2D1.1(b)(18).

c. This Office does not oppose a 2-level reduction in the Defendant’s adjusted offense
level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt recognition
and affirmative acceptance of personal responsibility for the Defendant’s criminal conduct. This
Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional 1-level decrease
in recognition of the Defendant’s timely notification of the Defendant’s intention to enter a plea
of guilty. This Office may oppose any adjustment for acceptance of responsibility under U.S.S.G.
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 5 of 8

§ 3E1.1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if the Defendant:
(i) fails to admit each and every item in the factual stipulation; (ii) denies involvement in the
offense; (iii) gives conflicting statements about the Defendant’s involvement in the offense; (iv) is
untruthful with the Court, this Office, or the United States Probation Office; (v) obstructs or
attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between the
date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty; or
(viii) violates this Agreement in any way.

d. This Office does not oppose a 2-level reduction in the Defendant’s adjusted offense
level pursuant to U.S.S.G. § 3B1.2(b) based on the Defendant’s role as a minor participant.

e. Therefore, the total offense level is 23.

ts There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11(c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence of 51 months and 5 years of supervised release is the appropriate
disposition of this case taking into consideration the nature and circumstances of the offense, the
Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a). This
Agreement does not affect the Court’s discretion to impose any lawful term of supervised release
or fine or to set any lawful conditions of probation or supervised release. In the event that the
Court rejects this Agreement, except under the circumstances noted below, either party may elect
to declare the Agreement null and void. Should the Defendant so elect, the Defendant will be
afforded the opportunity to withdraw his plea pursuant to the provisions of Federal Rule of
Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the Defendant engaged
in obstructive or unlawful behavior and/or failed to acknowledge personal responsibility as set
forth herein, neither the Court nor the Government will be bound by the specific sentence contained
in this Agreement, and the Defendant will not be able to withdraw his plea

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant will request that the Court
sentence the Defendant to a sentence of 51 months and 5 years of supervised release. This
Office and the Defendant reserve the right to bring to the Court’s attention all information with
respect to the Defendant’s background, character, and conduct that this Office or the Defendant
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 6 of 8

deem relevant to sentencing, including the conduct that is the subject of any counts of the
Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant.

Waiver of Appeal

11. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

i. The Defendant reserves the right to appeal any sentence that exceeds
the statutory maximum; and

ii. This Office reserves the right to appeal any sentence below a
statutory minimum.

é, The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

12. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

13. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 7 of 8

14. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to
the forfeited assets to the United States, including executing all documents necessary to transfer
such title, assisting in bringing any assets located outside of the United States within the
jurisdiction of the United States, and taking whatever steps are necessary to ensure that assets
subject to forfeiture are made available for forfeiture.

15. | The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal,
habeas corpus petition, or civil complaint. The Defendant will not challenge or seek review of
any civil or administrative forfeiture of any property subject to forfeiture under this Agreement,
and will not assist any third party with any challenge or review or any petition for remission of
forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

16. | Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

17. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

18. | The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
Case 1:22-cr-00437-LKG Document16 Filed 08/17/23 Page 8 of 8

required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence
up to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the
obligations under this Agreement. Neither the prosecutor, defense counsel, nor the Court can
make a binding prediction, promise, or representation as to what guidelines range or sentence the
Defendant will receive. The Defendant agrees that no one has made such a binding prediction or
promise.

Entire Agreement

19. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Erek L. Barron
United States Attorney

/S/
Adeyemi (“A Adenrele
Assistant United States Attorney

I have read this Agreement, including the Sealed Supplement, and carefully reviewed every part
of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I] have reviewed
the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to change any

part of it. | am completely satisfied with the CU

KY.

Dat Gabriel Ruiz L/

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement, including
the Sealed Supplement with the Defendant. The Defendant advises me that the Defendant
understands and accepts its terms. To my knowledge, the Defendant’s decision to enter into this
Agreement is an informed and voluntary one.

U1 9d 2022 X

Date Elizabeth Lopez. Esq.

